
Justice EAKIN,
concurring.
I concur, though I do not find the policy language ambiguous. Both parties agree the property owners are “insureds” under the policy. Majority Op., at 630-31, 115 A.3d at 846. The separation-of-insureds provision provides the “insurance applies ... [separately to each insured against whom claim is made or suit is brought.” Commercial Umbrella Liability Policy, at 11 (emphasis omitted). That is, the clear language of the policy separates each “insured” from the other. As the restaurant is an insured distinct from the landowner, and as Ms. Denovitz was employed by the former, the employee-exclusion provision is inapplicable to the latter. I would affirm the Superior Court on this basis.
